5/29/24, 5:39 PM    Case 1:24-cv-04108-ALC              Document   3-24 Ave
                                                            2615 Chesbrough Filed  05/30/24
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                                 2615 Chesbrough Ave


            New York

                   Google Street View

            Feb 2022     See latest date




                                                                                                  Image capture: Feb 2022   © 2024 Google




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